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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION                         )
 VOTING SYSTEMS, INC., and DOMINION                  )
 VOTING SYSTEMS CORPORATION,                         )   Civil Action No. 1:21-cv-02131 (CJN)
                                                     )   (MAU)
         Plaintiffs,                                 )
                                                     )
             v.                                      )   Magistrate Judge Moxila A. Upadhyaya
                                                     )
 PATRICK BYRNE,                                      )
                                                     )   JURY TRIAL DEMANDED
        Defendant.                                   )
                                                     )

      SUPPLEMENTAL DECLARATION OF DAVIDA BROOK IN SUPPORT OF
     DOMINION’S EMERGENCY MOTION FOR PROTECTIVE RELIEF AND TO
                       DISQUALIFY COUNSEL

I, Davida Brook, hereby declare and state as follows:

        1.        I am an attorney at Susman Godfrey L.L.P., and counsel for plaintiffs, Dominion,

in the above-captioned action. I am a member in good standing with the bar of the State of

California and am admitted to practice in this Court. I am over the age of eighteen, attest to the

following matters from personal knowledge, and if called as a witness, could competently testify

to the matters set forth herein.

        2.        Attached hereto as Exhibit 41 is a true and correct copy of the slides presented by

Dominion at the hearing before this Court on March 16, 2024.

        3.        Attached hereto as Exhibit 42 is a true and correct copy of an email chain between

Timothy M. Maat of the Muskegon County Prosecutor’s Office and Jonathan J. Ross of Susman

Godfrey LLP, regarding certain documents filed on the public docket in People of the State of

Michigan vs. Stefanie Lynn Lambert Juntilla, Case No. 2023-285759-FH.
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        4.       Attached hereto as Exhibit 43 is a true and correct audio transcription of a

videorecorded statement by Patrick Byrne, dated April 2, 2024, which was accessed and saved

from the social media website “rumble” on May 10, 2024. 1 Dominion encourages it be read in a

full, but at a minimum see: 30:17-31:7, 32:14-33:2, 34:1-35:7, 44:3-9; 44:14-22.

        5.       Attached hereto as Exhibit 44 is a true and correct copy of a spreadsheet detailing,

to the best of Dominion’s knowledge, the date, location, and Bates number of Dominion

documents provided to Sheriff Dar Leaf by Stefanie Lambert and then released via Sheriff Dar

Leaf’s X page between March 8, 2024 and May 13, 2024.

        6.       Attached hereto as Exhibit 45 is a true and correct copy of the timeline of some of

the public appearances and statements relevant to the leak of Dominion documents at issue in this

motion (as stated at the hearing, Dominion doubts it has captured all such occurrences), provided

to all parties and the Court at the hearing on March 16, 2024.

        7.       The following exhibits constitute the public appearances and statements attached

to the aforementioned timeline:

                 a. Attached hereto as Exhibit 46 is a true and correct copy of posts to social media

                     during the week of February 11, 2024. Specifically, it is a post by Stefanie

                     Lambert (“@AttyStefLambert”) from the social media website “X” dated

                     February 14, 2024, accessed and saved on March 15, 2024.

                 b. Attached hereto as Exhibit 47 is a true and correct copy of relevant posts to

                     social media during the week of March 3, 2024. Specifically, it is a post from

                     the social media website “X” dated March 9, 2024, with the poster’s name




1
 Available at https://rumble.com/v4nicb6-explosive-kari-lake-pt-2-supreme-court-case-checkmate-in-two-2-april-
2024.html.
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          redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”), accessed

          and saved on March 15, 2024.

       c. Attached hereto as Exhibit 48 is a true and correct copy of relevant posts to

          social media during the week of March 10, 2024. Specifically, it includes:

              i. a post by the account @Real_EIF from the social media website “X”

                  dated March 11, 2024, accessed and saved on March 14, 2024;

              ii. a post by Patrick Byrne (“@PatrickByrne”) from the social media

                  website “X” dated March 14, 2024, accessed and saved on March 15,

                  2024;

             iii. a post by Stefanie Lambert (“@AttyStefLambert”) from the social

                  media website “X” dated March 15, 2024, accessed and saved on March

                  15, 2024;

             iv. the account page from the social media website “X” for the account

                  @SheriffLeaf, accessed and saved on May 14, 2024.

       d. Attached hereto as Exhibit 49 is a true and correct copy of relevant posts to

          social media and press appearances during the week of March 10, 2024.

          Specifically, it includes:

              i. a post by the account @SheriffLeaf from the social media website “X”

                  dated March 17, 2024, accessed and saved on March 22, 2024;

              ii. another post by the account @SheriffLeaf from the social media website

                  “X” dated March 17, 2024, accessed and saved on March 22, 2024;

             iii. an additional 37 posts by the account @SheriffLeaf from the social

                  media website “X”, listed in chronological order and dated March 18,
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                2024 between the hours of 10:22 AM and 12:13 PM, accessed and saved

                on March 22, 2024;

            iv. a post by Stefanie Lambert (“@AttyStefLambert”) on the social media

                website “X,” dated March 18, 2024, accessed and saved on March 22,

                2024;

             v. a post by Patrick Byrne (“@PatrickByrne”) on the social media website

                “X” dated March 18, 2024, accessed and saved on March 22, 2024.

            vi. a second post by Patrick Byrne (“@PatrickByrne”) on the social media

                website “X” dated March 18, 2024, accessed and saved on March 22,

                2024;

            vii. a third post by Patrick Byrne (“@PatrickByrne”) on the social media

                website “X” dated March 18, 2024, accessed and saved on March 22,

                2024;

           viii. a fourth post by Patrick Byrne (“@PatrickByrne”) on the social media

                website “X” dated March 18, 2024, accessed and saved on March 22,

                2024;

            ix. a post by Tina Peters (“@realtinapeters”) and reposted by Patrick Byrne

                (“@PatrickByrne”) on the social media website “X” on March 19, 2024,

                accessed and saved on March 22, 2024;

             x. a post by Patrick Byrne (“@PatrickByrne”) on the social media website

                “X” dated March 19, 2024, accessed and saved on March 22, 2024;
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            xi. an article from ABC News, Pro-Trump lawyer arrested on warrant

                after court hearing in separate case on Dominion leaks, dated March

                19, 2024;

            xii. a post by Patrick Byrne (“@PatrickByrne”) on the social media website

                “X” dated March 20, 2024, accessed and saved on May 14, 2024;

           xiii. a post from the social media website “X” dated March 22, 2024, with

                the poster’s name redacted, which was re-shared by Patrick Byrne

                (“@PatrickByrne”), accessed and saved on March 22, 2024;

           xiv. a post from the social media website “X” with the poster’s name

                redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”) on

                March 22, 2024, and accessed and saved on March 22, 2024;

            xv. a post from the social media website “X” with the poster’s name

                redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”) on

                March 22, 2024, and accessed and saved on May 14, 2024;

           xvi. a screenshot of the March 22, 2024 episode of the podcast Joe Oltmann

                Live - Guest Stefanie Lambert: What They Did to Stefanie Lambert is

                Incredible,                        available                        at

                https://www.everand.com/listen/podcast/717145119,      accessed   and

                saved on May 15, 2024;

           xvii. a post from the social media website “X” with the poster’s name

                redacted,     which    was    re-shared    by     Stefanie   Lambert

                (“@StefLambertEsq”) on March 22, 2024, and accessed and saved on

                May 14, 2024.
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       e. Attached hereto as Exhibit 50 is a true and correct copy of relevant posts to

          social media during the week of March 24, 2024. Specifically, it is a post by

          Patrick Byrne (“@PatrickByrne”) from the social media website “X” dated

          March 26, 2024, accessed and saved on May 14, 2024.

       f. Attached hereto as Exhibit 51 is a true and correct copy of relevant posts to

          social media during the week of March 10, 2024. Specifically, it includes:

              i. a post by Patrick Byrne (“@PatrickByrne”) on the social media website

                  “X” dated April 2, 2024, accessed and saved on May 14, 2024;

              ii. a post by Patrick Byrne (“@PatrickByrne”) on the social media website

                  “X” dated April 3, 2024, accessed and saved on May 14, 2024;

             iii. a post by Patrick Byrne (“@PatrickByrne”) on the social media website

                  “X” dated April 6, 2024, accessed and saved on May 14, 2024.

       g. Attached hereto as Exhibit 52 is a true and correct copy of relevant posts to

          social media and press appearances during the week of April 7, 2024.

          Specifically, it includes:

              i. a screenshot of the April 7, 2024 episode of the podcast The Joe Hoft

                  Show - Surviving Attacks for Standing Up for Fair Elections with

                  Stefanie             Lambert,                available               at

                  https://frankspeech.com/Video/surviving-attacks-for-standing-up-for-

                  fair-elections-with-stefanie-lambert, accessed and saved on May 15,

                  2024;

              ii. a post from the social media website “X” with the poster’s name

                  redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”) on
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                 April 8, 2024, and accessed and saved on May 15, 2024, along with the

                 full post that was re-shared by Byrne, also accessed and saved on May

                 15, 2024;

             iii. a post by the account @SheriffLeaf from the social media website “X”

                 dated April 11, 2024, accessed and saved on May 15, 2024.

       h. Attached hereto as Exhibit 53 is a true and correct copy of relevant posts to

          social media during the week of April 14, 2024. Specifically, it includes:

              i. a post from the social media website “X” with the poster’s name

                 redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”) on

                 April 14, 2024, and accessed and saved on May 14, 2024;

              ii. a post from the social media website “X” with the poster’s name

                 redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”) on

                 April 16, 2024, and accessed and saved on May 14, 2024;

             iii. another post from the social media website “X” with the poster’s name

                 redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”) on

                 April 16, 2024, and accessed and saved on May 14, 2024;

             iv. a post by Mike Lindell (“@realMikeLindell”) on the social media

                 website “X” dated April 17, 2024, accessed and saved on May 14, 2024;

              v. a post by Patrick Byrne (“@PatrickByrne”) on the social media website

                 “X” dated April 17, 2024, accessed and saved on May 14, 2024;

             vi. a post from the social media website “X” with the poster’s name

                 redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”) on

                 April 17, 2024, and accessed and saved on May 14, 2024;
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            vii. a post from the social media website “X” with the poster’s name

                 redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”) on

                 April 20, 2024, and accessed and saved on May 14, 2024, along with

                 the full post that was re-shared by Byrne, also accessed and saved on

                 May 14, 2024.

       i. Attached hereto as Exhibit 54 is a true and correct copy of relevant posts to

          social media during the week of April 21, 2024. Specifically, it is a post from

          the social media website “X” with the poster’s name redacted, which was re-

          shared by Patrick Byrne (“@PatrickByrne”) on April 24, 2024, and accessed

          and saved on May 14, 2024.

       j. Attached hereto as Exhibit 55 is a true and correct copy of relevant posts to

          social media during the week of May 5, 2024. Specifically, it includes:

              i. a post from the social media website “X” with the poster’s name

                 redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”) on

                 May 7, 2024, and accessed and saved on May 14, 2024;

              ii. another post from the social media website “X” with the poster’s name

                 redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”) on

                 May 7, 2024, and accessed and saved on May 14, 2024;

             iii. a post from the social media website “X” with the poster’s name

                 redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”) on

                 May 8, 2024, and accessed and saved on May 14, 2024;
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            iv. a second post from the social media website “X” with the poster’s name

                redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”) on

                May 8, 2024, and accessed and saved on May 14, 2024;

             v. a third post from the social media website “X” with the poster’s name

                redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”) on

                May 8, 2024, and accessed and saved on May 14, 2024;

            vi. a fourth post from the social media website “X” with the poster’s name

                redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”) on

                May 8, 2024, and accessed and saved on May 14, 2024;

            vii. a post by Patrick Byrne (“@PatrickByrne”) on the social media website

                “X” dated May 8, 2024, accessed and saved on May 14, 2024;

           viii. a post by Stefanie Lambert (“@StefLambertEsq”) on the social media

                website “X” dated May 8, 2024, accessed and saved on May 14, 2024;

            ix. a post by Stefanie Lambert (“@StefLambertEsq”) on the social media

                website “X” dated May 9, 2024, accessed and saved on May 17, 2024;

             x. a post from the social media website “X” with the poster’s name

                redacted,    which     was    re-shared    by     Stefanie   Lambert

                (“@StefLambertEsq”) on May 9, 2024, accessed and saved on May 14,

                2024;

            xi. a post from the social media website “X” with the poster’s name

                redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”) on

                May 9, 2024, and accessed and saved on May 17, 2024;
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             xii. a second post from the social media website “X” with the poster’s name

                  redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”) on

                  May 9, 2024, and accessed and saved on May 17, 2024;

             xiii. a post by the account @SheriffLeaf from the social media website “X”

                  dated May 9, 2024, accessed and saved on May 15, 2024;

             xiv. a post by the account @SheriffLeaf from the social media website “X”

                  dated May 10, 2024, accessed and saved on May 15, 2024;

              xv. a second post by the account @SheriffLeaf from the social media

                  website “X” dated May 10, 2024, accessed and saved on May 15, 2024.

        k. Attached hereto as Exhibit 56 is a true and correct copy of relevant posts to

           social media during the week of May 12, 2024. Specifically, it includes:

               i. a post from the social media website “X” with the poster’s name

                  redacted, which was re-shared by Patrick Byrne (“@PatrickByrne”) on

                  May 12, 2024, and accessed and saved on May 17, 2024;

               ii. a post by the account @SheriffLeaf from the social media website “X”

                  dated May 13, 2024, accessed and saved on May 14, 2024;

              iii. transcript of broadcast story, Arraignments in Adams Township Election

                  Case,       Fox       47       News        (May        14,          2024),

                  https://www.fox47news.com/neighborhoods/jackson-hillsdale/former-

                  adams-township-clerk-stephanie-scott-and-her-attorney-stefanie-

                  lambert-plead-not-guilty.
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       8.      Attached hereto as Exhibit 57 is a true and correct copy of Atkins v. Fisher, 232

F.R.D. 116 (D.D.C. 2005), provided to the Court and Counsel for Mr. Byrne at the May 16, 2024

hearing.

       9.      Attached hereto as Exhibit 58 is a true and correct copy of Kramer v. Tribe, 156

F.R.D. 96 (D.N.J. 1994) aff’d without opinion, 52 F.3d 315 (3d Cir. 1995), provided to the Court

and Counsel for Mr. Byrne at the May 16, 2024 hearing.


       10.     Attached hereto as Exhibit 59 is a true and correct copy Vollmer v. Publishers

Clearing House, 49 F.3d 698 (7th Cir. 2001), provided to the Court and Counsel for Mr. Byrne at

the May 16, 2024 hearing.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

       Signed this 17th day of May, 2024, at Los Angeles, California.

                                                                /s/Davida Brook
                                                                Davida Brook
